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                           UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

 JEFFREY MENDOZA,

      Plaintiff,                                   Case No.: 5:20-cv-01281-XR

 v.

 ENHANCED RECOVERY COMPANY,
 LLC,

      Defendant.


                              JOINT FED. R. CIV. P. 26 REPORT

        1. Are there any outstanding jurisdictional issues? For removed cases based on

diversity jurisdiction, do the parties agree that the amount in controversy exceeded $75,000

at the time of removal? If not, each party should state its position on the amount in

controversy.

        None.

        2. Are there any unserved parties? If more than 90 days have passed since the filing of

the Complaint or petition, should these unserved parties be dismissed?

        All parties have been served.

        3. What are the causes of action, defenses, and counterclaims in this case? What are

the elements of the cause(s) of action, defenses, and counterclaims pled?

        Plaintiff: Plaintiff has brought claims against Defendant for violations of the Fair Debt

Collection Practices Act (“FDCPA”), 15 U.S.C. § 1692 et seq., the Telephone Consumer

Protection Act (“TCPA”) pursuant to 47 U.S.C. §227 et seq., and the Texas Debt Collection Act

(“TDCA”), Tex. Fin. Code Ann. § 392 et seq. Specifically, Defendant placed at least 40 collection

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calls to Plaintiff’s cellular phone number in an attempt to collect the subject debt after being

requested to stop using an automatic telephone dialing system. Furthermore, Defendant failed to

send Plaintiff a validation notice within five days of its initial communication with Plaintiff in

September 2020.

       Defendant:

       Defendant denies all liability to the Plaintiff in this matter. ERC did not use an automated

telephone dialing system to place any calls to the Plaintiff; ERC used the Human Call Initiator

calling system from LiveVox, which was repeatedly held to not be an automated telephone dialing

system subject to the TCPA. ERC sent a validation notice as required under the FDCPA on August

12, 2020, within two days of receiving placement of the subject account. Finally, ERC did not

place any calls to Plaintiff after receiving a request from him to stop calling.

       4. Are there any agreements or stipulations that can be made about any facts in this

case or any element in the cause(s) of action?

       The parties can stipulate to the following:

       ERC did not use any artificial or pre-recorded voice messages in making calls to Plaintiff.

       5. State the parties’ views and proposals on all items identified in Fed. R. Civ. P.

26(f)(3).

       (A) what changes should be made in the timing, form, or requirement for disclosures
     under Rule 26(a), including a statement of when initial disclosures were made or will be
     made;
       The parties do not propose any changes for the requirement for disclosures. The parties
     agree to exchange initial disclosures by July 13, 2021.
       (B) the subjects on which discovery may be needed, when discovery should be
     completed, and whether discovery should be conducted in phases or be limited to or
     focused on particular issues;



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          Plaintiffs anticipate discovery on the following subjects: (1) the alleged debt(s)

          Defendant was attempting to collect from Plaintiff; (2) collection phone calls placed by

          Defendant to Plaintiff’s cellular phones; (3) the systems employed by Defendant to

          place the collection calls; (4) whether Defendant had consent to place collection calls

          to Plaintiff’s cellular phones; (5) whether Defendant placed calls to Plaintiff’s cellular

          phones utilizing a prerecorded or artificial voice; and (6) whether Defendant sent

          Plaintiff any written communications.


          Discovery should be completed by September 22, 2021.

       (C) any issues about disclosure, discovery, or preservation of electronically stored
     information, including the form or forms in which it should be produced;
        The parties agree that .pdf will be the default format for production of all documents, where

applicable, unless native format is requested and it possible to produce the documents in native

form.

       (D) any issues about claims of privilege or of protection as trial-preparation materials,
     including—if the parties agree on a procedure to assert these claims after production—
     whether to ask the court to include their agreement in an order under Federal Rule of
     Evidence 502;
        The Parties do not anticipate any issues regarding privilege or protective orders at this time.

If needed, the parties will seek an order under Federal Rule of Evidence 502 with the Court.

       (E) what changes should be made in the limitations on discovery imposed under these
     rules or by local rule, and what other limitations should be imposed;
        The parties do not propose any changes.
       (F) any other orders that the court should issue under Rule 26(c) or under Rule
     16(b) and (c).
        None at this time.




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       6. What, if any, discovery has been completed? What discovery remains to be done?

Have the parties considered conducting discovery in phases?

       The parties held an initial discussion regarding the merits. The parties have not conducted

any discovery. Full discovery of all relevant documents and information remains. The parties have

elected to not conduct discovery in phases.

       7. What, if any, discovery disputes exist?

       None at this time. The parties do not anticipate any discovery disputes.

       8. Have the parties discussed the desirability of filing a proposed order pursuant to

Federal Rule of Evidence 502?

       The parties have not discussed the filing of a proposed order pursuant to Federal Rule of

Evidence 502 at this time.

       9. Have the parties discussed mediation?

       The parties have discussed mediation and believe mediation would be most productive after

the parties are able to complete written discovery from one another and relevant third parties.

                                                  Respectfully submitted,
 Dated: June 22, 2021

 /s/ Mohammed O. Badwan                           /s/ Richard D. Rivera
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                               CERTIFICATE OF SERVICE

       I, Mohammed O. Badwan, an attorney, certify that on June 22, 2021, the foregoing document
was filed electronically using the Court’s CM/ECF system, which will accomplish service on all
counsel of record.

                                                   /s/ Mohammed O. Badwan




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